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FILED PARTIALLY UNDER SEAL

Exhibit 136

Calculation of Pre-Judgment Interest
Case 1:21-cv-11205-FDS Document 182-136

Filed 01/06/25

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SPARTA Insurance Company v. Pennsylvania General Insurance Company, Civ. No. 21-11205-FDS (D. Mass.)
SPARTA Pre-Judgment Interest Calculation As Of January 6, 2025

A B Cc D | E F I G H I I I J | K L I I °
1 Time Amounts. Rate
Tas ———
35 Days | Years The | 45 Business Days | Years Between The
twee!
Years Between | stor The Delivery |35 Day Breach Date| After The Delivery |45 Day Breach D SPARTA Paid For SPARTAPaid [Total Of Amounts Pald For| Interest Rate | Dally Interest Accrual On | "terest Accrued From | Interest Accrued From | interest Accrued From
Notice Date Dellvery Date Notice Date and - F DateafNoticeto |The 35DayBreach Date) The 45DayBreach
January 6, 2025 Date (the "35 Day And January 6, Date (the "45 Day And January 6, AEIC Clalms ToAGRM AEIC Claims And ToAGRM) PerAnnum Total Amount Paid January 6, 2025 tolanuary6,2025 |Date to January 6, 2025
: Breach Date”) 2025 Breach Date") 2025 es Dies aries
2
3 11/07/22 11/08/22 2.17 12/30/22 2.022 01/17/23 1.973
i 09/28/23 09/29/23 1.28 11/21/23 1,129 12/06/23 1.088
5 11/06/23 11/07/23 1.17 12/29/23 1,025 01/16/24 0.975
6 12/19/23 12/20/23 1.05 02/12/24 0.901 02/27/24 0.860
1 02/06/24 02/09/24 0.92 04/01/24 0.767 04/15/24 0.729
8 02/26/24 02/29/24 0.86 04/18/24 0.721 05/02/24 0.682
9 03/26/24 03/28/24 0.78 05/16/24 0.644 05/32/24 0.603 Redacted Redacted
10 04/30/24 05/02/24 0.69 06/24/24 0.537 07/09/24 0.496
"1 05/20/24 05/22/24 0.63 07/15/24 0.479 07/29/24 0.441
12 07/23/24 07/25/24 0.46 09/13/24 0.315 09/27/24 0.277
13 08/13/24 08/15/24 0.40 10/04/24 0.258 10/21/24 0.211
4 09/24/24 09/26/24 0.28 14/18/24 0.134 12/03/24 0.093
15 10/17/24 10/21/24 0.22 12/41/24 0.071 12/26/24 0.030
16 12/17/24 12/19/24 0.05 02/11/25 N/A 02/26/25 N/A
"7 TOTALS: $75,735,002.60 | $24,899.18 $9,349,621.52 $8,032,592.87 $7,654,488.94

